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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA,                  Case No. 3:15-cr-00438-JO

                     Plaintiff,             RESPONSE TO GOVERNMENT’S
                                            MOTION TO CONTINUE DEADLINE
       v.                                   FOR EXPERT REPORT

 WINSTON SHROUT,

                     Defendant.

      The defendant, Winston Shrout, through his attorney, Ruben L. Iñiguez, submits

this response to the government’s motion to continue the Court’s June 29th deadline for

the court-appointed expert to submit a psychological report. See CR 141.

                                   BACKGROUND

      On May 7, 2018, the Court held a hearing on Mr. Shrout’s motion to determine

mental competency. CR 141. Among other things, the Court entered a minute order




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“ordering a competency evaluation by Dr. [Stephanie Maya] Lopez at OHSU with a report

due no later than 6/29/2018.” Id. (Emphasis added).

       On June 16, Mr. Shrout met with Dr. Lopez for more than five hours for the

purpose of the evaluation. Since then, Mr. Shrout has continued to cooperate in the

evaluation process by executing and submitting release of information forms to Dr.

Lopez, providing her names of medical providers at the VA, providing relevant pages

from his passport, and coordinating a collateral interview with Patricia Bekken.

       On June 19, three days after the evaluation, defense counsel emailed Dr. Lopez

and informed her that "Pat Bekken is willing to speak with you." Two days later, on June

21, defense counsel reiterated that "Ms. Bekken ... is willing to speak with you." Counsel

asked Dr. Lopez to "[p]lease let me know if you would like me to make the arrangements

necessary to facilitate a conversation with her."

       Counsel did not receive a response from Dr. Lopez until Saturday, June 23.

Counsel was not at work over the weekend to receive the email. As soon as counsel

received the message on Monday, June 25, he contacted Ms. Bekken to inquire whether

she was available on Friday, June 29, at 10:00 a.m.—the date and time that Dr. Lopez was

requesting to speak with her.

       The next day, Tuesday, June 26, defense counsel emailed Dr. Lopez and conveyed

Ms. Bekken’s message that she was leaving town on vacation the next day, June 27, and,

therefore, she was not available on the proposed date: Friday, June 29. Counsel also




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conveyed Ms. Bekken’s message that she would not be available again until Thursday,

July 5.

          On Friday, June 29, the Court’s deadline for the psychological report to be

submitted, defense counsel received an email from Dr. Lopez repeating her request to

speak with Ms. Bekken that same day -- at 2:45 p.m. Counsel immediately responded to

remind Dr. Lopez that Ms. Bekken was on vacation and not available that day.

                                           RESPONSE

          Ms. Bekken is on vacation until Thursday, July 5.    Prior to leaving town, she

confirmed she is available to speak with Dr. Lopez by telephone any time that day, July

5. The location of Ms. Bekken’s vacation is such that there is no cell phone or Internet

service. As a result, defense counsel is unable to determine whether Ms. Bekken is

available on Friday, July 6—the date Dr. Lopez would prefer to speak with her.

          Mr. Shrout does not oppose the government’s motion to continue until July 9 the

Court’s current deadline for Dr. Lopez to submit her report. He stresses, however, that

Ms. Bekken is only available to speak with Dr. Lopez on Thursday, July 5. If Dr. Lopez

is unable to speak with Ms. Bekken on July 5, and Ms. Bekken is unable to speak with Dr.

Lopez on July 6, it is possible that a further continuance of the report deadline may be

necessary.

          RESPECTFULLY submitted this 2nd day of July, 2018.

                                                 /s/ Ruben L. Iñiguez
                                                 Ruben L. Iñiguez
                                                 Attorney for Defendant

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